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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION
_____________________________________________________________________

UNITED STATES OF AMERICA,                )
                                         )
             Plaintiff,                  )             CR. No. 2:23-CR-20191-MSN
                                         )
             v.                          )
                                         )
EMMITT MARTIN III,                       )
TADARRIUS BEAN,                          )
DEMETRIUS HALEY,                         )
DESMOND MILLS JR., and                   )
JUSTIN SMITH,                            )
                                         )
             Defendants.                 )

                   UNITED STATES’ RESPONSE IN OPPOSITION
                  TO DEFENDANT HALEY’S MOTION TO COMPEL



      The United States opposes Defendant Demetrius Haley’s motion to compel the

United States to produce the contents of the personal cellular phone possessed by the

victim, Tyre Nichols, prior to his death. The contents of the victim’s phone were unknown

to the defendants at the time they assaulted Mr. Nichols and therefore had no bearing

on their actions. Defendant Haley cites no legal authority that would authorize the

defendants to root through the deceased victim’s personal phone, nor can he. Nor does

the defendant cite any legal basis for his request for an index of undiscoverable

investigative material. The motion should be denied.

                              FACTUAL BACKGROUND

      Counsel for Defendant Haley sent the United States a letter on October 4, 2023,

requesting the United States’ position on an earlier version of the instant motion. The
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draft motion, like the present motion, demanded unfettered access to the victim’s

personal phone and failed to identify any piece or category of information sought by the

defendant or any legal basis for a defendant to search the phone of a deceased victim

in an excessive force case.

       The United States responded the same day, copying all defense counsel of

record, and explained that the contents of Mr. Nichols’ phone could not contain relevant

evidence pertaining to any claim or defense in the case. The United States nevertheless

invited defense counsel to contact the United States to discuss the possibility of a limited

search of the victim’s phone, if defense counsel could identify a legal basis to search the

victim’s phone for some limited period prior to his death for some specific relevant

information.

       Defense counsel responded the next day, declining the United States’ offer to

discuss the issue further and instead insisting that the victim’s phone “likely” contains

information that “may explain” the victim’s conduct on the date of his arrest. The United

States again responded on the same day, providing case law to defense counsel

explaining that the victim’s conduct prior to his arrest is irrelevant under Supreme Court

and Sixth Circuit precedent. The undersigned pointed out that the contents of the

victim’s personal phone were (1) unknown to the defendants at the time of their use of

force and (2) unrelated to the moments leading up to the defendants’ use of force. The

United States explained that it could not, without a legal basis to do so, provide defense

counsel with wholly unfettered access to the victim’s phone. Again, the United States

indicated that if defense counsel could identify a specific search term or timeframe

calibrated to address any legitimate discovery request, government counsel would
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happily continue the conversation.     The United States’ final email on the matter

concluded, “We will make every effort to resolve any discovery matter.” Defense counsel

did not respond and instead filed the instant motion.

      Discovery in this case is due on November 6, 2023.

                                      ARGUMENT

      Defendant Haley’s motion to compel is baseless and premature, and should be

denied.   The information Defendant Haley claims to need is factually and legally

irrelevant to the criminal charges he now faces.

      To begin, Federal Rule of Criminal Procedure 16 lays out the scope of the

government’s discovery obligations in a criminal case. Generally, Rule 16 requires the

government to disclose a defendant’s written or oral statement, the defendant’s prior

record, documents and objects that are material to the defense, documents that the

government intends to use in its case-in-chief, or that belong to the defendant, and

reports of examinations or tests. Fed. R. Crim. P. 16. And of course, a defendant’s due

process rights obligate the government to disclose information that is favorable to the

defendant and thus material to the guilt or innocence of the defendant.       Brady v.

Maryland, 373 U.S. 83 (1993).

      When responding to a defendant’s discovery request, it is the government’s

obligation to determine which information must be disclosed. “A defendant's right to

discover exculpatory evidence does not include the unsupervised authority to search

through the [government’s] files.” Pennsylvania v. Ritchie, 480 U.S. 39, 59 (1987); see

also, e.g., United States v. Alaouie, No. 10-20705, 2011 WL 795072, at *1 (E.D. Mich.

Mar. 1, 2011) (denying defendant’s motion to compel government to retain certain
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materials and denying defendant’s request to have the court inspect materials to

determine their discoverability; United States v. Russell, No. 22-20348-CR, 2022 WL

17736195, at *2 (S.D. Fla. Dec. 17, 2022) (noting that “courts generally accepted federal

prosecutors' good faith averments that the information they have is not exculpatory, that

certain exculpatory evidence is not in their possession, or that the alleged exculpatory

evidence has been produced”).

      Turning to the specific request of the defendant in the present motion, the contents

of the victim’s cell phone are not subject to disclosure under Rule 16 or Brady as they are

irrelevant to the charged conduct. Defendant Haley and his co-defendants face charges

of violating 18 U.S.C. § 242. To prove that a defendant violated § 242, the government

must show that he acted under color of law to willfully deprive an arrestee of his Fourth

Amendment right to be arrested without unreasonable force. See United States v. Lanier,

520 U.S. 259, 264 (1997). To prove the constitutional deprivation, the government must

show that the defendant used an objectively unreasonable amount of force. See Graham

v. Connor, 490 U.S. 386, 397 (1989). As the Supreme Court and the Sixth Circuit have

repeatedly explained, this objective reasonableness inquiry assesses “reasonableness at

the moment,” in light of “the facts and circumstances confronting them.” Goodwin v. City

of Painesville, 781 F.3d 314, 321 (6th Cir. 2015) (quoting Graham, 490 U.S. at 386). In

other words, the Fourth Amendment requires courts to “consider[] only the facts the

officers knew at the time of the alleged Fourth Amendment violation.” Miller v. Vill. of

Pinckney, 365 F. App'x 652, 654 (6th Cir. 2010) (internal quotation marks omitted); see

also, e.g., United States v. Harris, 735 F.3d 1187, 1191 (10th Cir. 2013) (“The Fourth

Amendment requires [courts] to evaluate the reasonableness of searches and seizures
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based on the facts known to officers when the event in question occurred.”) (emphasis

added).

       Defendant Haley does not assert that he or any defendant knew any facts about

what was in the victim’s phone at the time they assaulted him. As a matter of law, any

facts unknown to the defendants at the time they used force against Mr. Nichols are

irrelevant and inadmissible. “[Courts] must consider only the facts the officers knew at

the time of the alleged Fourth Amendment violation.” Dickerson v. McClellan, 101 F.3d

1151, 1155 n.3 (6th Cir. 1996). Defendant Haley cites no law to the contrary, nor can he.

       Although the United States pointed the defendant to this line of well-settled

authority, the defendant nevertheless contends that with the benefit of hindsight, that is,

with additional information gleaned from his victim’s personal effects, he could present

newly discovered information that would justify the force the defendant used on the victim.

But the Supreme Court has prohibited precisely that type of evidence. Kingsley v.

Hendrickson, 576 U.S. 389, 397 (2015) (“A court must make this determination from the

perspective of a reasonable officer on the scene, including what the officer knew at the

time, not with the 20/20 vision of hindsight.” (citing Graham, 490 at 396)); see also

Rowland v. Perry, 41 F.3d 167, 172 (4th Cir. 1994) (The inquiry “must be filtered through

the lens of the officer's perceptions at the time of the incident in question. [citation

omitted]. Such a perspective serves two purposes. First, using the officer's perception of

the facts at the time limits second-guessing the reasonableness of actions with the benefit

of 20/20 hindsight. Second, using this perspective limits the need for decision-makers to

sort through conflicting versions of the ‘actual’ facts, and allows them to focus instead on

what the police officer reasonably perceived.”) (citing Graham, 490 U.S. at 396).
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       As Graham and its progeny have made clear for decades now, the substantive law

governing this action requires the jury to confine its examination to the facts and

circumstances known to the defendants at the time they used force on Tyre Nichols, not

to unrelated events that preceded or post-dated that use of force. See Graham, 490 U.S.

at 397; Sherrod v. Berry, 856 F.2d 802, 805 (7th Cir. 1988) (noting that, after Graham, “it

is obvious that ‘under the circumstances’ refers only to those circumstances known and

information available to the officer at the time of his action (firing the fatal shot). When a

jury measures the objective reasonableness of an officer's action, it must stand in his

shoes and judge the reasonableness of his actions based upon the information he

possessed and the judgment he exercised in responding to that situation.”) (citing

Graham, 490 U.S. at 396).

       Defendant Haley nevertheless insists that the victim’s cellular phone may contain

information about the victim’s “state of mind” and “the full story” behind the victim’s flight

and alleged resistance. Def. Mot. to Compel at 3. The fact that an arrestee resisted or

fled arrest is of course relevant to the Fourth Amendment analysis. But why an arrestee

fled or “resisted” arrest, to the extent such information is even knowable when the victim

is dead, is categorically irrelevant. An arrestee’s “privately-held intent is irrelevant to the

constitutional analysis because the Court must focus on the totality of facts known to the

officers at the time of the encounter.” Williams v. Schismenos, 258 F. Supp. 3d 842, 857

(N.D. Ohio 2017), aff'd, 738 F. App'x 342 (6th Cir. 2018).

       Nor can Defendant Haley credibly claim that any information contained in the

victim’s cellular phone is likely to lead to discoverable evidence.         Defendant Haley

demands that the government investigate the victim in hopes that such an inquiry will
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uncover information the defendant can attempt to use to attack his deceased victim’s

character. But the defendants may not offer character evidence to impeach the victim’s

credibility because he is deceased and therefore will not be a witness at trial. See Fed.

R. Evid. 404(a)(2), 608(a); United States v. Johnson, 872 F.2d 612, 619 (5th Cir. 1989)

(holding that a victim cannot be impeached until that victim’s statement is before the jury).

Further, and as explained above, any information about the victim’s activities at any point

before the defendants arrested him is categorically irrelevant to the reasonableness of

the defendants’ use of force. Goodwin, 781 F.3d at 321 (6th Cir. 2015) (citing Graham,

490 U.S. at 386, for the proposition that officers’ force must be assessed in the moment

they used force).

        The defendant has not identified any authority that obliges the government to

search a deceased victim’s personal effects to find evidence of “bad” character that could

be used to embarrass the victim or create a post hoc justification for a defendant’s use of

force in a civil rights case. No doubt this is because the relevant precedent makes it

crystalline that the contents of the victim’s cell phone in this case are irrelevant and

inadmissible at trial. See Fed. R. Evid. 402. It is well settled that evidence about the

victim’s character or conduct at some point other than the one at which the defendant

assaulted the victim simply has nothing to do with whether the matter presented for trial:

       Knowledge of facts and circumstances gained after the fact (that the
       suspect was unarmed) has no place in the trial court's or jury's proper post-
       hoc analysis of the reasonableness of the actor's judgment. Were the rule
       otherwise, . . . the jury would possess more information than the officer
       possessed when he made the crucial decision. Thus, we are convinced that
       the objective reasonableness standard . . . requires that [an officer’s] liability
       be determined exclusively upon an examination and weighing of the
       information [the officer] possessed immediately prior to and at the very
       moment he fired the fatal shot. The reception of evidence or any information
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       beyond that which [the officer] had and reasonably believed at the time he
       fired his revolver is improper, irrelevant, and prejudicial to the determination
       of whether Officer Berry acted reasonably under the circumstances.

Sherrod, 856 F.2d at 805 (citing Graham, 490 U.S. at 396); see also Hemry v. Ross, 62

F.4th 1248, 1257 (10th Cir. 2023) (citing Graham to hold that the use of force must be

judged based on the “information possessed by the officers”).

       The fact that the defendant now seeks to rifle through the deceased victim’s

personal effects for new information suggests that he intends to attack the character of

the victim at trial and, in so doing, ask the jury to improperly nullify the criminal charges.

The Court should deny the defendant’s motion to compel the government to investigate

the deceased victim and, further, it should emphasize that efforts at jury nullification are

not permitted in federal court. See United States v. Sepulveda, 15 F.3d 1161, 1190 (1st

Cir. 1993) (“A trial judge … may block defense attorneys’ attempts to serenade a jury with

the siren song of nullification…”); United States v. Penn, 969 F.3d 450, 458 (5th Cir. 2020)

(“Evidence admitted solely to encourage nullification is by definition irrelevant, and thus

inadmissible, regardless of what other evidence might be introduced at trial.”) (internal

quotation marks omitted).

       Because the defendant has offered no basis to compel the production of the

contents of the victim’s phone, there is also no basis to compel the United States to

provide an index of undiscoverable material to the defendants.

                                       CONCLUSION

       For the foregoing reasons, the government respectfully requests that this Court

deny Defendant Haley’s motion to compel production of the information on the deceased

victim’s personal cell phone and its related request for an index of all information in the
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possession of the government.

      This 6th day of October 2023.

                                           Respectfully submitted,

                                           KRISTEN CLARKE
                                           ASSISTANT ATTORNEY GENERAL
                                           CIVIL RIGHTS DIVISION
                                           U.S. DEPARTMENT OF JUSTICE

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                              CERTIFICATE OF SERVICE

       I, Kathryn E. Gilbert, Special Litigation Counsel for the Civil Rights Division,

Criminal Section, hereby certify that a copy of the foregoing Notice has been sent via the

District Court’s Electronic Filing System.

       This 6th day of October 2023.


                                                  s/ Kathryn E. Gilbert
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